                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                              AT LAW AND IN ADMIRALTY


 UNITED STATES OF AMERICA,

                       Plaintiff,

                v.                                       Case No.

 APPROXIMATELY $33,690.00 IN UNITED
 STATES CURRENCY,

                       Defendant.


              VERIFIED COMPLAINT FOR CIVIL FORFEITURE IN REM


       The United States of America, by its attorneys, Matthew D. Krueger, United States

Attorney for the Eastern District of Wisconsin, and Scott J. Campbell, Assistant United States

Attorney for this district, alleges the following in accordance with Supplemental Rule G(2) of the

Federal Rules of Civil Procedure:

                                      Nature of the Action

       1.      This is a civil action to forfeit property to the United States of America, under

21 U.S.C. § 881(a)(6), for violations of 21 U.S.C. § 841(a)(1).

                                     The Defendant In Rem

       2.      The defendant property, approximately $33,690.00 in United States currency, was

seized on or about July 29, 2019, from Andrew Hogstrom and Melissa Nieskes at or near

3XXX W. Scott Street, Milwaukee, Wisconsin.

       3.      The defendant property is presently in the custody of the United States Marshal

Service in Milwaukee, Wisconsin.




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                                      Jurisdiction and Venue

       4.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C.

§ 1355(a).

       5.      This Court has in rem jurisdiction over the defendant property under 28 U.S.C.

§ 1355(b).

       6.      Venue is proper in this district under 28 U.S.C. § 1355(b)(1), because the acts or

omissions giving rise to the forfeiture occurred in this district.

                                        Basis for Forfeiture

       7.      The defendant property, approximately $33,690.00 in United States currency, is

subject to forfeiture to the United States of America under 21 U.S.C. § 881(a)(6) because it was

used or intended to be used in exchange for controlled substances, represents proceeds of

trafficking in controlled substances, or was used or intended to be used to facilitate a violation of

21 U.S.C. § 841(a)(1).

                                                Facts

       8.      Cocaine is a Schedule II controlled substance.

       9.      Methamphetamine is a Schedule II controlled substance.

       10.     Zubsolv is a Schedule III controlled substance.

       11.     Suboxone is a Schedule III controlled substance.

       12.     Alprazolam is a Schedule IV controlled substance.

       13.     Clonazepam is a Schedule IV controlled substance.

       14.     Lorazepam is a Schedule IV controlled substance.

       15.     Diazepam is a Schedule IV controlled substance.

       16.     Andrew Hogstrom is a convicted felon.

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       17.     As a convicted felon, Andrew Hogstrom is prohibited from possessing a firearm.

July 29, 2019 traffic stop of Andrew Hogstrom

       18.     On July 29, 2019, officers conducted a traffic stop near 3901 W. National

Avenue, Milwaukee, Wisconsin, on a Toyota Sienna van driven by Andrew Hogstrom.

       19.     Andrew Hogstrom was the only occupant in the van.

       20.     A baggie containing approximately 0.5 grams of cocaine was lying in plain view

on the floorboard of the driver’s seat of the van.

       21.     Two cell phones and Andrew Hogstrom’s wallet were inside a small cooler that

was on the front passenger seat of the van.

July 29, 2019 execution of search warrant at Andrew Hogstrom and Melissa Nieskes’s
residence

       22.     On July 29, 2019, following the above-mentioned traffic stop, officers executed a

search warrant at the residence of Andrew Hogstrom and Melissa Nieskes located at 3XXX W.

Scott Street, Milwaukee, Wisconsin (the “subject residence”).

       23.     On July 29, 2019, the following items, among other things, were inside a bedroom

closet of the subject residence, directly below men’s hanging clothes:

               A.      An orange pill bottle containing the following pills individually wrapped
                       in baggies:

                          i.   Two Alprazolam 2 mg tablets,

                         ii.   Two Clonazepam 0.5 mg tablets,

                        iii.   Three Lorazepam 1 mg tablets, and

                        iv.    Eight Diazepam 5 mg tablets.

               B.      A safe containing, among other things, the following:

                          i.   A Crown Royal bag containing approximately $4,980 in United
                               States currency in rubber banded stacks, which is a portion of the
                               defendant currency,

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          ii.   A wallet containing various identifiers for Andrew Hogstrom,
                including a Social Security card, a Wisconsin Department of
                Transportation temporary driver’s license with photo, and a United
                Healthcare card,

         iii.   A semi-automatic rifle with a loaded magazine and an unfired
                cartridge in the chamber,

         iv.    A semi-automatic firearm with a loaded magazine and an unfired
                cartridge in the chamber, along with a second loaded magazine,

          v.    Various ammunition,

         vi.    A Crown Royal bag containing approximately 20 Gabapentin pills
                in a baggie, several empty baggies, and a digital scale,

         vii.   A suspected drug ledger,

        viii.   A metal box containing approximately $28,710 in United States
                currency in rubber banded stacks, which is a portion of the
                defendant currency,

         ix.    An orange pill bottle containing approximately 0.4 grams of
                methamphetamine,

          x.    A digital scale with white residue on the weigh plate,

         xi.    An orange pill bottle containing approximately 43 Zubsolv
                8.6 mg/2.1 mg tablets,

         xii.   An orange pill bottle containing razor blades,

        xiii.   Two boxes containing a total of approximately 59 Suboxone
                8 mg/2 mg sublingual films,

        xiv.    A Crown Royal bag that contained six baggies containing a total of
                approximately 186.1 grams of crack cocaine, with individual
                weights of approximately 24.0 grams, 50.7 grams, 40.4 grams,
                20.5 grams, 25.3 grams, and 25.2 grams,

         xv.    A Woodman’s grocery bag that contained five baggies containing
                a total of approximately 248.5 grams of cocaine, with individual
                weights of approximately 55.2 grams, 55.2 grams, 55.2 grams,
                55.1 grams, and 27.8 grams,

        xvi.    A Metro Market grocery bag that contained two baggies containing
                a total of approximately 38.7 grams of cocaine, with individual
                weights of approximately 15.0 grams and 23.7 grams,
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                      xvii.    A bag with white residue, and

                     xviii.    An open box of baggies.

                               Andrew Hogstrom’s State Charges

       24.     On August 2, 2019, Andrew Hogstrom was charged in Milwaukee County Circuit

Court, Case No. 19CF3400, with (1) possession of cocaine with intent to deliver, use of a

dangerous weapon, and (2) possession of a firearm by a convicted felon.

                                 Melissa Nieskes’s State Charges

       25.     On August 2, 2019, Melissa Nieskes was charged in Milwaukee County Circuit

Court, Case No. 19CF3401, with maintaining a drug trafficking place.

                              Administrative Forfeiture Proceedings

       26.     On or about September 4, 2019, the Drug Enforcement Administration (“DEA”)

began administrative forfeiture proceedings against the approximately $33,690.00 in United

States currency seized from Andrew Hogstrom and Melissa Nieskes’s residence on July 29,

2019, on the ground that the seized currency was used or intended to be used in exchange for

controlled substances or was proceeds of trafficking in controlled substances.

       27.     On or about October 13, 2019, Melissa Nieskes filed a claim with the DEA in the

administrative forfeiture proceeding to the defendant approximately $33,690.00 in United States

currency.

                                   Warrant for Arrest In Rem

       28.     Upon the filing of this complaint, the plaintiff requests that the Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which the plaintiff will execute

upon the defendant property pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

                                        Claims for Relief

       29.     The plaintiff alleges and incorporates by reference the paragraphs above.
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       30.     By the foregoing and other acts, the defendant property, approximately

$33,690.00 in United States currency, was used or intended to be used in exchange for controlled

substances, represents proceeds of trafficking in controlled substances, or was used or intended

to be used to facilitate a violation of 21 U.S.C. § 841(a)(1).

       31.     The defendant approximately $33,690.00 in United States currency is therefore

subject to forfeiture to the United States of America under 21 U.S.C. § 881(a)(6).

       WHEREFORE, the United States of America prays that a warrant of arrest for the

defendant property, approximately $33,690.00 in United States currency, be issued; that due

notice be given to all interested parties to appear and show cause why the forfeiture should not

be decreed; that judgment declare the defendant property to be condemned and forfeited to the

United States of America for disposition according to law; and that the United States of America

be granted such other and further relief as this Court may deem just and equitable, together with

the costs and disbursements of this action.

       Dated at Milwaukee, Wisconsin, this 17th day of December, 2019.

                                               Respectfully submitted,

                                               MATTHEW D. KRUEGER
                                               United States Attorney


                                       By:      s/SCOTT J. CAMPBELL
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                                          Verification

       I, Miguel Correa, Jr., hereby verify and declare under penalty of perjury that I am a Task

Force Officer with the Drug Enforcement Administration (DEA) in Milwaukee, that I have read

the foregoing Verified Complaint for Civil Forfeiture in rem and know the contents thereof, and

that the factual matters contained in paragraphs 8 through 23 of the Verified Complaint are true

to my own knowledge.

       The sources of my knowledge and information are the official files and records of the

United States, information supplied to me by other law enforcement officers, as well as my

investigation of this case, together with others, as a Task Force Officer with DEA.

       I hereby verify and declare under penalty of perjury that the foregoing is true and correct.



Date: 12/17/2019                             s/TFO MIGUEL CORREA, JR.
                                             Miguel Correa, Jr.
                                             Task Force Officer




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